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                                        Page 1 of 4


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16                        SOUTHERN DISTRICT OF CALIFORNIA
17
     Al Otro Lado, Inc., et al.,                  Case No.: 17-cv-02366-BAS-KSC
18

19
                        Plaintiffs,
                                                  EXHIBIT 25 TO MOTION FOR
20            v.                                  PRELIMINARY INJUNCTION
21   Kevin K. McAleenan, 1 et al.,
22                      Defendants.
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     1
28    Acting Secretary McAleenan is automatically substituted for former Secretary
     Nielsen pursuant to Fed. R. Civ. P. 25(d).
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   Information re the asylum transit interim final rule

   All,

   Please see updated guidance below re: the asylum transit interim final rule.


   Christopher A. Santoro
   Deputy Chief Immigration Judge

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   Sent: Thursday, September 12, 2019 1:38 PM
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   Subject: RE: Updated Guidance: Ninth Circuit Stay Order - Asylum Transit Interim
   Final Rule Litigation
   Importance: High

   Good afternoon EOIR Leadership,

   Late yesterday, the Supreme Court issued the attached order in Barr v. East Bay
   Sanctuary Covenant, No. 19A230, staying two orders issued by the district court
   that had enjoined nationwide the application of the DOJ/DHS joint interim final
   rule, “Asylum Eligibility and Procedural Modifications,” 84 Fed. Reg. 33,829 (July
   16, 2019)—i.e., the third-country-transit rule. The Supreme Court’s order provides:
   “The district court’s July 24, 2019 order granting a preliminary injunction and
   September 9, 2019 order restoring the nationwide scope of the injunction are stayed
   in full pending disposition of the Government’s appeal in the United States Court of
   Appeals for the Ninth Circuit and disposition of the Government’s petition for a writ
   of certiorari, if such writ is sought. If a writ of certiorari is sought and the Court
   denies the petition, this order shall terminate automatically. If the Court grants the
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   petition for a writ of certiorari, this order shall terminate when the Court enters its
   judgment.”

   In light of the Supreme Court’s order, OIL advises that the third-country-transit rule
   now applies nationwide to:

           ● (1) All credible-fear screenings, or immigration-judge reviews of such
              screenings, that are either conducted after or remain pending after
              September 11, 2019; and


           ● (2) All asylum applications filed by aliens who entered, attempted to enter,
              or arrive in the United States on or after July 16, 2019—whether filed
              affirmatively with USCIS or defensively in removal proceedings—that
              remain pending (whether before USCIS, before an immigration judge, or
              before the Board of Immigration Appeals) after September 11, 2019.


   OIL further advises, in line with the above, that the rule should not be applied to any
   alien who has a final administrative decision granting asylum on or before
   September 11, 2019. However, if the case is still pending on appeal before the
   Board, the rule may apply. Additionally, as a reminder, the rule applies only to an
   alien who enters, attempts to enter, or arrives in the United States across the
   southern land border on or after July 16, 2019.

   Thank you for bearing with the several updates in our guidance these past few
   weeks.

   Best,

   Edward

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